                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          Case No. 1:23-cv-00423-WO-JLW


TIMIA CHAPLIN; KEVIN SPRUILL;
ROTESHA MCNEIL; QIANA ROBERTSON;
YOUSEF JALLAL; MESSIEJAH BRADLEY;
PAULINO CASTELLANOS; ROBERT
LEWIS; and ALLEN SIFFORD, on behalf of
themselves and all others similarly situated,

                            Plaintiffs,             PROPOSED ORDER

       v.

WILLIE R. ROWE, in his official capacity as
the Sheriff of Wake County; BRIAN ESTES, in
his official capacity as the Sheriff of Lee
County; THE OHIO CASUALTY
INSURANCE COMPANY, as surety for the
Sheriff of Wake County and as surety for the
Sheriff of Lee County; TYLER
TECHNOLOGIES, INC.; NORTH CAROLINA
ADMINISTRATIVE OFFICE OF THE
COURTS; RYAN BOYCE, in his official
capacity as the Executive Director of the North
Carolina Administrative Office of the Courts;
BRAD FOWLER, in his official capacity as the
eCourts Executive Sponsor and Chief Business
Officer of the North Carolina Administrative
Office of the Courts; BLAIR WILLIAMS, in
his official capacity as the Wake County Clerk
of Superior Court; SUSIE K. THOMAS, in her
official capacity as the Lee County Clerk of
Superior Court; JOHN DOE SURETY, as the
surety for the Wake County Clerk of Superior
Court and the Lee County Clerk of Superior
Court; and DOES 1 THROUGH 20,
INCLUSIVE,

                            Defendants.




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       This matter was heard by the undersigned on Plaintiffs’ Motion for Leave to Amend

Complaint, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure and Local Civil

Rules 7.3 and 15.1, seeking leave to file a Second Amended Complaint in this matter.

       The Court finds that good cause exists to grant the motion.

       IT IS THEREFORE ORDERED that Plaintiffs’ motion is GRANTED, and by this order,

the Second Amended Complaint is the operative complaint in this matter.

       This the _____ day of ____________________________, 2024.



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                                                    The Honorable Judge William L. Osteen, Jr.




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